                            NUMBER 13-15-00269-CV

                            COURT OF APPEALS

                  THIRTEENTH DISTRICT OF TEXAS

                     CORPUS CHRISTI - EDINBURG
____________________________________________________________

ELVIRA J. GARCIA,                                                          Appellant,

                                          v.

PATRICIA ELIZABETH HOLSEY, ET AL.,                 Appellees.
____________________________________________________________

             On appeal from the 135th District Court
                    of Goliad County, Texas.
____________________________________________________________

                         MEMORANDUM OPINION
              Before Justices Rodriguez, Benavides, and Perkes
                      Memorandum Opinion Per Curiam

      Appellant, Elvira J. Garcia, perfected an appeal from a judgment entered by the

135th District Court of Goliad County, Texas, in cause number 15-050243-CV. Appellant

has filed an unopposed motion to dismiss the appeal and requests that this Court dismiss

the appeal.
      The Court, having considered the documents on file and appellant’s unopposed

motion to dismiss the appeal, is of the opinion that the motion should be granted. See

TEX. R. APP. P. 42.1(a). Appellant’s motion to dismiss is granted, and the appeal is

hereby DISMISSED. Costs will be taxed against appellant. See TEX. R. APP. P. 42.1(d)

("Absent agreement of the parties, the court will tax costs against the appellant.").

Having dismissed the appeal at appellant's request, no motion for rehearing will be

entertained, and our mandate will issue forthwith.



                                                                  PER CURIAM

Delivered and filed the
2nd day of September, 2016.




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